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                           UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS

 ASHTON ORR, ZAYA PERYSIAN,
 SAWYER SOE, CHASTAIN ANDERSON,
 DREW HALL, BELLA BOE, and REID
 SOLOMON-LANE, on behalf of themselves
 and others similarly situated,
                                Plaintiffs,
     v.                                               Case No. 1:25-cv-10313

 DONALD J. TRUMP, in his official capacity
 as President of the United States; U.S.
 DEPARTMENT OF STATE; MARCO
 RUBIO, in his official capacity as Secretary
 of State; and UNITED STATES OF
 AMERICA,
                                Defendants.


                PLAINTIFFS’ MOTION TO PROCEED UNDER PSEUDONYM

          Plaintiffs Bella Boe and Sawyer Soe hereby respectfully request that this Court GRANT

this motion to permit them to proceed under pseudonym in this civil action. Plaintiffs are

submitting an accompanying memorandum of law in support of this motion.

          Plaintiff Bella Boe is a transgender woman who has lived as female in all aspects of her

life since she was 11 years old. Plaintiff Sawyer Soe is a nonbinary person who has lived as a

nonbinary person in all aspects of their life since 2019. Both seek to have their passports updated

to accurately reflect their true identities. Transgender and nonbinary individuals are members of

a stigmatized group that frequently encounters discrimination and harassment. The Court should

allow Plaintiffs to proceed using pseudonyms because, among other reasons explained in the

supporting memorandum, any interest the public may have in disclosure of the Plaintiffs’ identities

does not outweigh their compelling interest in anonymity.
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                                    Respectfully submitted,


February 19, 2025                      /s/ Isaac D. Chaput
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                CERTIFICATION PURSUANT TO LOCAL RULE 7.1(a)(2)

       I hereby certify that, pursuant to Local rule 7.1, Plaintiffs’ counsel conferred with counsel

who will be representing Defendants via email on February 10, 2025, and they indicated that

Defendants take no position on this motion until they review the motion and accompanying memo.


 February 19, 2025                                  /s/ Isaac D. Chaput
                                                    Isaac D. Chaput




                                 CERTIFICATE OF SERVICE

       I hereby certify that on February 19, 2025, a true copy of the foregoing will be

electronically filed with the Clerk of Court using the CM/ECF system, which will then send a

notification of such filing (NEF).

                                                             /s/ Isaac D. Chaput
                                                             Isaac D. Chaput




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